Case 24-14219-SLM      Doc 6   Filed 06/01/24 Entered 06/01/24 00:40:10         Desc Main
                               Document      Page 1 of 1




                                          Certificate Number: 15317-NJ-DE-038530656
                                          Bankruptcy Case Number: 24-14219


                                                        15317-NJ-DE-038530656




             CERTIFICATE OF DEBTOR EDUCATION

I CERTIFY that on May 31, 2024, at 4:39 o'clock PM PDT, Ismet Rusevic
completed a course on personal financial management given by internet by
Access Counseling, Inc., a provider approved pursuant to 11 U.S.C. 111 to
provide an instructional course concerning personal financial management in the
District of New Jersey.




Date:   May 31, 2024                      By:      /s/Faye Rivera


                                          Name: Faye Rivera


                                          Title:   Counselor
